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                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS                                     NOV 06 2019
                                    WESTERN DIVISION


     MICHAEL MITCHELL, KALIN HUSKEY
     and TERELL LUNNIE, Each Individually and
     on Behalf of All Others Similarly Situated


     vs.                                     No. 4:19-cv-     7Z 3 - KGB
     BROWN'S MOVING & STORAGE, INC.                                                          DEFENDANT


                        ORIGINAL COMPLAINT-COLLECTIVE ACTION


            COME NOW Plaintiffs Michael Mitchell, Kalin Huskey and Terell Lunnie, each

     individually and on behalf of all others similarty situated, by and through their attorneys

     Blake Hoyt, Joshua West and Josh Sanford of Sanford Law Firm, PLLC, and for their

     Original Complaint-Collective Action against Defendant Brown's Moving & Storage,

     Inc. ("Defendant"): state and allege as follows:

                                I.      PRELIMINARY STATEMENTS

            1.     This is a collective action brought by Plaintiffs Michael Mitchell, Kalin

     Huskey and Terell Lunnie, each individually and on behalf of all other Movers or

     similarty situated employees employed by Defendant at any time within a three-year

     period preceding the filing of this Complaint.

            2.     Plaintiffs bring this action under the Fair Labor Standards Act, 29 U.S.C. §

     201, et seq. (the "FLSA") and the Arkansas Minimum Wage Act, Ark. Code Ann.§ 11-4-

     201, et seq. (the "AMWA"), for declaratory judgment, monetary damages, liquidated

     damages, prejudgment interest, costs, including a reasonable attorney's fee, as a result
                                                              This case assigned to District Judge     Bakr
                                                 Page 1 of 12 and to Magistrate Judge ..._}&a.-.........._
                                                                                                _ _ _ _ _ _ __

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of Defendant's failure to pay Plaintiffs and other Movers a lawful minimum wage and

overtime compensation for hours worked in excess of forty (40) hours per week.

       3.      Upon information and belief, for at least three years prior to the filing of

this Complaint, Defendant has willfully violated the FLSA as described, infra.

                            II.      JURISDICTION AND VENUE

       4.      The United States District Court for the Eastern District of Arkansas has

subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331

because this suit raises federal questions under the FLSA.

       5.      Plaintiffs' claims under the AMWA form part of the same case or

controversy and arise out of the same facts as the FLSA claims.

       6.      Therefore, this Court has supplemental jurisdiction over Plaintiffs' AMWA

claims pursuant to 28 U.S.C. § 1367(a).

       7.      The acts complained of herein were committed and had their principal

effect against Plaintiffs within the Western Division of the Eastern District of Arkansas;

therefore, venue is proper within this District pursuant to 28 U.S.C. § 1391.

       8.      Defendant does business in this district and a substantial part of the

events alleged herein occurred in this District.

       9.      The witnesses to the overtime violations reside in this District.

       10.     On information and belief, the payroll records and other documents related

to the payroll practices that Plaintiffs challenge are located in this District.

                                      Ill.     THE PARTIES

       11.     Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section.

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       12.     Plaintiff Michael Mitchell is a citizen and resident of Pulaski County.

       13.     Plaintiff Kalin Huskey is a citizen and resident of Pulaski County.

       14.     Plaintiff Terell Lunnie is a citizen and resident of Pulaski County.

       15.     Defendant Brown's Moving & Storage, Inc., is a for-profit corporation

created and existing under and by virtue of the laws of the State of Arkansas, providing

moving, packing and delivery services under the name Blue Truck Moving & Delivery.

       16.     Defendant's principal address is 12 Shackleford Ridge· Road, Little Rock,

Arkansas, 72204.

       17.     The Arkansas Secretary of State's online business entity database

indicates that Defendant's registered agent for service of process has resigned. Thus,

service may be made on its corporate officer and president, Anita Fiser, or other

corporate agent duly authorized to receive service of process on behalf of Defendant at

Defendant's principal address.

                                IV.    FACTUAL ALLEGATIONS

       18.     Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       19.     Plaintiffs worked for Defendant as Movers within the three years preceding

the filing of this Complaint.

       20.     Plaintiffs worked for Defendant as Movers out of Defendant's location in

Little Rock.

       21.     Plaintiffs were paid based on a percentage of the fee charged by

Defendant to its customers for each moving job they completed.




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       22.   At all material times, Plaintiffs have been entitled to the rights, protection

and benefits provided under the FLSA and the AMWA.

       23.    Defendant's annual gross volume of sales made or business done was not

less than $500,000.00 (exclusive of excise taxes at the retail level that are separately

stated) during each of the three calendar years preceding the filing of this Complaint.

       24.    During each of the three years preceding the filing of this Complaint,

Defendant employed at least two individuals who were engaged in interstate commerce

or in the production of goods for interstate commerce, or had employees handling,

selling, or otherwise working on goods or materials that had been moved in or produced

for commerce by any person, such as moving trucks and equipment and office and

telecommunication equipment.

      25.    Defendant was at all relevant times Plaintiffs' employer, as well as the

employer of the members of the proposed collective group and is and has been

engaged in interstate commerce as that term is defined under the FLSA.

      26.    Within the three years preceding the filing of this Complaint, Defendant

continuously employed at least four employees, including Plaintiffs.

      27.    Plaintiffs performed duties such as traveling to meet with Defendant's

customers, assisting customers with moving tasks, transporting customers' personal

property, and setting up and installing customers' personal property.

      28.    Other Movers performed the same duties as Plaintiffs.

      29.    Plaintiffs were regularly required to and did work in excess of forty (40)

hours per week.



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       30.     Other Movers were also regularly required to and did work in excess of

forty (40) hours per week.

       31.     Plaintiffs were paid a varying percentage of the total moving job price.

       32.     Other Movers were paid by the same method as Plaintiffs.

       33.     If Plaintiffs delivered furniture that the customer returned, Plaintiffs were

not paid at all for that delivery job.

       34.     Because Plaintiffs were paid based on a percentage of the fee charged by

Defendant to its customers, not on an hourly rate, Plaintiffs' effective hourly rates

regularly fell below the applicable minimum wage.

       35.     For example, in the week of August 19 to August 24, 2019, Plaintiff

Mitchell worked 75 hours for $487.52 in pay, as calculated by Defendant's percentage

fee arrangement.

       36.     Plaintiffs Huskey and Lunnie worked as many as 90 hours per week and

were paid as little as $650.00 or less in those weeks.

       37.     Defendant did not keep track of Plaintiffs' hours of work.

       38.     Defendant had no policy or practice in which it audited Plaintiffs' hours of

work and pay to determine whether Plaintiffs made a minimum hourly wage for all hours

worked per week.

       39.     It was Defendant's commonly applied policy not to pay Plaintiffs or other

Movers for all hours worked in excess of forty (40) in a week, such as time spent

traveling between and working at customer locations or working at Defendant's

warehouse.



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       40.     Defendant did not pay Plaintiffs or other Movers any overtime premium for

hours worked in excess of forty (40) in a week.

       41.     Defendant knew, or showed reckless disregard for whether, the way it paid

Plaintiffs and other Movers violated the FLSA and the AMWA.

                    V.       REPRESENTATIVE ACTION ALLEGATIONS

       42.     Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       43.     Plaintiffs bring this claim for relief for violation of the FLSA as a collective

action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of all

persons similarly situated as Movers who were or are employed by Defendant and who

are entitled to payment for all of their minimum and overtime wages that Defendant

failed to pay from three years prior to the date of the filing of this lawsuit, through the

time of the trial of this case.

       44.     In conformity with the requirements of FLSA Section 16(b), Plaintiffs file

their written Consents to Join this collective action as Exhibit 1 to their Original

Complaint-Collective Action.

       45.     Plaintiffs are unable to state the exact number of the collective but believe

that the collective's membership is over thirty (30) persons.

       46.     Defendant can readily identify the members of the collective, who are a

certain portion of the current and former employees of Defendant.

       47.     The names and physical and mailing addresses of the FLSA collective

members are available from Defendant.



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       48.     The email addresses of many of the FLSA collective members are

available from Defendant.

       49.     The proposed FLSA collective members are similarly situated in that they

share these traits:

       A.      They had substantially similar job duties, requirements and pay provisions;

       8.      They.did not receive a lawful minimum wage for all time spent working for

Defendant; and

       C.      They did not receive a proper overtime premium for all hours worked in

excess of forty (40) in a week.

                            VI.    FIRST CAUSE OF ACTION
                      (Individual Claims for Violation of the FLSA)

       50.     Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       51.     Plaintiffs assert this claim for damages and declaratory relief pursuant to

the FLSA, 29 U.S.C. § 201, et seq.

       52.     At all relevant times, Defendant was Plaintiffs' "employer" within the

meaning of the FLSA, 29 U.S.C. § 203.

       53.     At all relevant times, Defendant has been, and continues to be, an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

       54.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to forty (40) in one week

and to pay one and one-half (1.5) times regular wages for all hours worked over forty

(40) hours in a week, unless an employee meets certain exemption requirements of 29

U.S.C. § 213 and all accompanying Department of Labor regulations.
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        55.    Defendant failed to pay Plaintiffs a lawful minimum wage and overtime

premium.

        56.    By the acts and conduct described above, Defendant willfully violated the

provisions of the FLSA and disregarded the rights of Plaintiffs to receive a lawful

minimum wage and overtime premium.

        57.    Defendant's conduct and practice, as described above, have been and are

willful, intentional, unreasonable, arbitrary and in bad faith.

        58.    By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs for, and Plaintiffs seek, unpaid minimum wages, unpaid overtime wages,

liquidated damages, prejudgment interest and costs, including a reasonable attorney's

fee, as provided by the FLSA.

                          VII.  SECOND CAUSE OF ACTION
                      (FLSA § 216(b) Representative Action Claim)

        59.    Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section.

        60.    Plaintiffs bring this collective action on behalf of all Movers employed by

Defendant to recover monetary damages owed by Defendant to Plaintiffs and members

of the putative collective for unpaid minimum wages and overtime compensation for all

the hours they worked in excess of forty (40) each week.

        61.    Plaintiffs bring this action on behalf of themselves individually and all other

similarly situated employees, former and present, who were and/or are affected by

Defendant's willful and intentional violation of the FLSA.

        62.    In the past three years, Defendant has employed many Movers other than

Plaintiffs.
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       63.     Like Plaintiffs, these Movers regularly worked more than forty (40) hours in

a week.

       64.     Defendant failed to pay these employees a lawful minimum wage for all

hours worked and proper overtime wages for all hours worked in excess of forty (40) in

a week. Because these employees are similarly situated to Plaintiffs, and because they

are owed minimum and overtime wages for the same reasons, the opt-in class is

properly defined as follows:

             All Movers and similar positions within the past three years.

       65.     Defendant's conduct and practice, as described above, have been and are

willful, intentional, unreasonable, arbitrary, and in bad faith.

       66.     By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs and all those similarly situated for monetary damages, liquidated damages,

and costs, including a reasonable attorney's fee, for all violations that occurred within

the years prior to the filing of this Plaintiffs' Original Complaint.

                             VIII.    THIRD CAUSE OF ACTION
                      (Individual Claims for Violation of the AMWA)

       67.     Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section

       68.     Plaintiffs assert this claim for damages and declaratory relief pursuant to

the AMWA, Ark. Code Ann. § 11-4-203(4 ).

       69.     At all relevant times, Defendant was Plaintiffs' "employer" within the

meaning of the AMWA, Ark. Code Ann. § 11-4-203(4 ).

       70.     Defendant failed to pay Plaintiffs all minimum and overtime wages owed,

as required under the AMWA.
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       71.     Defendant's conduct and practices, as described above, were willful,

intentional, unreasonable, arbitrary and in bad faith.

       72.     By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs for monetary damages, liquidated damages, costs, and a reasonable

attorney's fee, as provided by the AMWA, for all violations which occurred beginning at

least three years preceding the filing of Plaintiffs' Original Complaint, plus periods of

equitable tolling.

       73.     Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiffs as provided by the AMWA, Plaintiffs are entitled to an award of

prejudgment interest at the applicable legal rate.

                                IX.      PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiffs Michael Mitchell, Kalin Huskey

and Terell Lunnie, each individually and on behalf of all others similarly situated,

respectfully pray that Defendant be summoned to appear and to answer this Complaint

and for the following relief:

       A.      That Defendant be required to account to Plaintiffs, the collective

members, and the Court for all of the hours worked by Plaintiffs and the collective

members and all monies paid to them;

       B.      A declaratory judgment that Defendant's practices alleged herein violate

the Fair Labor Standards Act, 29 U.S.C. §201, et seq., the Arkansas Minimum Wage

Act, Ark. Code Ann. § 11-4-201, et seq., and their relating regulations;

       C.      Certification of, and proper notice to, together with an opportunity to

participate in the litigation, all qualifying current and former employees;

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       D.      Judgment for damages for all unpaid minimum wage and overtime

compensation under the Fair Labor Standards Act, 29 U.S.C. §201, et seq., the

Arkansas Minimum Wage Act, Ark. Code Ann. § 11-4-201, et seq., and their relating

regulations;

       E.      Judgment for liquidated damages pursuant to the Fair Labor Standards

Act, 29 U.S.C. §201, et seq., the Arkansas Minimum Wage Act, Ark. Code Ann.§ 11-4-

201, et seq., and their relating regulations in an amount equal to all unpaid minimum

wage and overtime compensation owed to Plaintiffs and members of the collective

during the applicable statutory period;

       F.      An order directing Defendant to pay Plaintiffs and members of the

collective prejudgment interest, a reasonable attorney's fee and all costs connected with

this action; and

       G.      Such other and further relief as this Court may deem just and proper.




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                                              Respectfully submitted,

                                              MICHAEL MITCHELL, KALIN HUSKEY
                                              and TERELL LUNNIE, Each Individually
                                              and on Behalf of All Others Similarly
                                              Situated, PLAINTIFFS

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                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


MICHAEL MITCHELL, KALIN HUSKEY                                              PLAINTIFFS
and TERELL LUNNIE, Each Individually and
on Behalf of All Others Similarly Situated


vs.                                 No. 4:19-cv-- -


BROWN'S MOVING & STORAGE, INC.                                             DEFENDANT


                      CONSENT TO JOIN COLLECTIVE ACTION


       I was employed as a Mover for Brown's Moving & Storage, Inc., within the past
three (3) years. I understand this lawsuit is being brought under the Fair Labor Standards
Act for unpaid wages. I consent to becoming a party-plaintiff in this lawsuit, to be
represented by Sanford Law Firm, PLLC, and to be bound by any settlement of this action
or adjudication by the Court.



                                            Signature:    11/,,L,,I Pti,ll
                                                         MICHAEL MITCHELL

       Date: November 6, 2019




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                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


MICHAEL MITCHELL, KALIN HUSKEY                                              PLAINTIFFS
and TERELL LUNNIE, Each Individually and
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vs.                                 No. 4:19-cv-- -


BROWN'S MOVING & ·sTORAGE, INC.                                            DEFENDANT


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                                            Signature:    Kt-·~
                                                         ~NHUSKEY

      Date: November 6, 2019




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                         EASTERN DISTRICT OF ARKANSAS
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MICHAEL MITCHELL, KALIN HUSKEY                                              PLAINTIFFS
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vs.                                 No. 4:19-cv-- -


BROWN'S MOVING & STORAGE, INC.                                             DEFENDANT


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                                            Signature:~-
                                                           RELL LUNNIE

       Date: November 6, 2019




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